             Case 1:24-cr-00014 Document 8 Filed 06/26/24 Page 1 of 3

                                                                                   FILED
                                                                                     Clerk
                                                                                 District Court
                                                                                JUN 26 2024
                                                                        for the Northern Mariana Islands
                                                                        By________________________
                                                                                  (Deputy Clerk)
           MINUTES OF THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN MARIANA ISLANDS
 1:24-cr-00014                                                        June 26, 2024
                                                                      9:15 a.m.


             UNITED STATES OF AMERICA -v- JULIAN PAUL ASSANGE

PRESENT: HON. RAMONA V. MANGLONA, CHIEF JUDGE PRESIDING
         PAMELA HUYNH, LAW CLERK
         CAMILLE WAECHTER, EXTERN
         FRANCINE ATALIG, COURTROOM DEPUTY
         NICOLE SABLAN, DEPUTY CLERK / ECRO OPERATOR
         SHAWN N. ANDERSON, U.S. ATTORNEY
         MATTHEW J. MCKENZIE, DOJ ATTORNEY
         RICHARD MILLER, LOCAL COUNSEL FOR DEFENDANT
         BARRY J. POLLACK, PRO HAC VICE ATTORNEY FOR DEFENDANT
         JULIAN PAUL ASSANGE, DEFENDANT
         JUANETTE DAVID-ATALIG, U.S. PROBATION OFFICER

PROCEEDING: INITIAL APPEARANCE / ARRAIGNMENT / WAIVER OF INDICTMENT /
            PLEA HEARING / SENTENCING

Defendant appeared out of custody.

Based on the international interest in this matter and the Clerk’s Office limited capacity to
produce multiple copies of the audio recording of this proceeding, the Court ordered that
the recording of this hearing, once certified as the official record of the proceeding, be
docketed. Once docketed, it will be available through PACER.

Attorney McKenzie gave reasons as to why the Government decided to bring this case to
Saipan. Attorney Pollack further waived venue. Attorney McKenzie apprised the Court
there are no individual victims in this matter.

Court and counsel addressed the waiver of indictment. Attorney Pollack apprised the
Court that the waiver of indictment was signed.

Defendant was sworn.

Court asked the Defendant preliminary questions and Defendant responded. Attorney
Pollack confirmed a copy of the Information was received by the Defendant. Court
apprised Defendant of the charge listed in the Information. Defendant was advised in
open court of his constitutional rights and of the nature of the charge against him.
             Case 1:24-cr-00014 Document 8 Filed 06/26/24 Page 2 of 3




Court accepted the Defendant’s waiver of an indictment.

Court proceeded to the initial appearance and the arraignment. On behalf of the
Defendant, Attorney Pollack waived formal reading of rights. Attorney McKenzie
confirmed receipt of the sworn affidavit regarding return or destruction of information and
that the Defendant has satisfied the term of paragraph 22 of the plea agreement.

Court and counsel addressed plea agreement. Attorney McKenzie read aloud the new
language in the plea agreement. Attorney Pollack confirmed the amendment to the plea
agreement. Court and parties further reviewed the plea agreement.

Attorney McKenzie apprised the Court that the Government will not be pursuing forfeiture
in this matter. The Government and the Defendant confirmed waiving rights of a
presentence investigation report. Attorney McKenzie stated the stipulated additional facts.

On behalf of the Government, Attorney McKenzie stated the factual basis the Government
was prepared to prove had the matter gone to trial.

Attorney McKenzie represented to the Court that once the sentencing has concluded, the
Government will move to dismiss indictment in the Eastern District of Virginia.

Court addressed further waivers listed in the plea agreement and Defendant confirmed he
waived all listed items.

The Government confirmed receipt of the bail report.

Without objection, Court accepted the modification of the written plea agreement at page
17 paragraph 15b. Attorney McKenzie to provide the amended pages 2 and 17 of the plea
agreement.

Defendant entered a plea of guilty to Count 1 of the Information charging the Defendant
with Count One: Conspiracy to Obtain and Disclose National Defense Information, in
violation of 18 U.S.C. § 793(g). Court found the Defendant was fully competent to enter a
knowing and voluntary plea and accepted the plea of guilty.

Attorney McKenzie to provide the Court the stipulated facts regarding the co-conspirator’s
conviction.

Court recessed at 10:50 am and reconvened at 11:20 am.

Counsel tendered to the Court the amended pages 2 and 17 of the plea agreement along
with the stipulated facts. Court confirmed it received the stipulation of facts and the
amended pages 2 and 17 of the plea agreement. Clerk to unseal the plea agreement once
pages 2 and 17 are replaced.

Court proceeded with sentencing. Court and parties addressed sentencing guidelines.

Attorney McKenzie made sentencing recommendations. Defendant did not give his
allocution. Attorney Pollack made sentencing recommendations.
               Case 1:24-cr-00014 Document 8 Filed 06/26/24 Page 3 of 3




Court pronounced sentence as to Julian Paul Assange:
Pursuant to the Sentencing Reform Act of 1984, and considering provisions found in 18 U.S.C.
§ 3553(a), it is the judgment of the Court that the Defendant, JULIAN PAUL ASSANGE, is
hereby sentenced to time served with no term of supervised release, as to Count I. Court
waived the fine and accepted the plea agreement.

Court addressed appeal rights with the Defendant.

The Government to withdraw extradition request.

Defendant remained released.


                                              Adjourned at 12:00 p.m.
                                              /s/Francine Atalig, Courtroom Deputy


____________________________________________________________________
                          CERTIFICATE OF OFFICIAL COURT RECORDER
I, Nicole Sablan, certify that I am a duly appointed Relief Courtroom Deputy for the United States
District Court for the Northern Mariana Islands, and I was present in the courtroom of this court on
06/26/2024. On this date during the regular course of my profession, I made electronic sound
recording(s) of the proceedings, for the above-entitled case. I have played back the recording and
certify that it is a true and correct record of the proceedings, that is sufficiently intelligible when
played on the FTR Touch, that it can be transcribed without undue difficulty, and that I have filed
the original recording with the Clerk of Court, as required by 28 U.S.C. § 753(b).
______________________________________________________________________________
